          EXHIBIT 6
Partial Transcript for May 12, 2021
       Show Cause Hearing
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 1            THE COURT:   Well, the Court's not going
 2   to make a decision based upon the notice of
 3   non-compliance filed yesterday.
 4            The Court is going to make a decision
 5   based on the first notice because the defendant
 6   had sufficient time to respond to that and, as I
 7   stated earlier, did not respond.
 8            And the Court's position is those facts
 9   as set forth in the previous notice are deemed
10   confessed and the Court does find by clear and
11   convincing evidence that the defendants have
12   violated the Court's order and that a contempt
13   sanction is warranted.
14            The issue now before the Court is what
15   is the remedy?   The Court has before it a number
16   of different remedies.
17            Number one, the Court could find the
18   defendants in contempt, as it's doing, and issue
19   a prospective conditional fine until the
20   defendants get themselves in compliance with the
21   order.
22            The Court could imprison the defendants
23   until they get themselves in compliance.
24            The Court could order damages be awarded
25   to the government with respect to any actual

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 1   damages suffered by defendants' failure to comply
 2   with the court order.
 3             Does the government wish to be heard
 4   concerning the options of sanctions that the
 5   Court may consider?
 6             MS. STRIPPOLI:    Yes, your Honor.   We
 7   would just like to defer to the Court in its
 8   remedy, but we would like to propose that the
 9   Court impose a certain course of sanctions for
10   each day the defendants remain out of compliance.
11   We will, of course, defer to the Court as to that
12   amount.   But taking into account the amount of
13   defendants' financial resources, we would note
14   that defendants represent that they have
15   significant financial resources.
16             On August 18, 2020, in a Facebook post
17   they have said, quote, "We have millions upon
18   millions of dollars in licensing deals that will
19   pay for anything."    This was corroborated by
20   Mr. Card at the January 8, 2021, hearing
21   representing that the defendants have licensing
22   deals that provide them with revenue and the
23   financial ability to care for the animals in
24   their custody.
25             And as recently as April 17, 2021, in an

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 1   point in time, the Court will consider additional
 2   sanctions if the defendants are not in
 3   compliance.
 4           Is there anything further on behalf of
 5   the government?
 6           MS. HOLLINGSWORTH:       Yes, your Honor.   We
 7   would like to add a few points.
 8           First, I'm not sure if Mr. Card is aware
 9   of this but we received an email through USDA
10   from Dr. Friar, the veterinarian that the Lowes
11   have employed, setting aside the issue of whether
12   or not she was qualified in the first place, she
13   has notified us that she intends to give notice
14   to the Lowes because they have apparently failed
15   to pay their veterinary bill.      She said she would
16   do that by the end of the month.
17           So again setting aside the issue of
18   whether or not she is qualified in the first
19   place and whether or not the program of
20   veterinary care that they submitted complies with
21   the regs, which have already been determined that
22   they did not, it appears to us that within a few
23   weeks they're going to have no veterinarian on
24   the property, which brings us back to the
25   original issue.   We would ask that the Court

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